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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:05CR131
       vs.                                    )
                                              )                     ORDER
PABLO REZA LANDIN,                            )
RAUL JIMINEZ, AND                             )
SCOTT D. FREESE,                              )

                     Defendants.

       This matter is before the court on the motion of Pablo Reza Landin to continue trial
(#31) based on current defense counsel's "recent" retention. I note that defendant's present
attorneys entered their appearances over one month ago, and discovery materials were
forwarded to them by prior counsel on December 5, 2005. At that time they were retained,
counsel were or should have been aware that the case had been specially set for trial the week
of January 30, 2006. The court will not continue this special setting based on speculation
that defense counsel "may also have to request additional time to consider filing pretrial
motions."

       IT IS ORDERED that the MOTION TO CONTINUE TRIAL (#31) is denied.

        Pursuant to NECrimR 57.2, a party may appeal this order by filing a "Statement of
Appeal of Magistrate Judge's Order" on or before January 13, 2006. The party shall
specifically state the order or portion thereof appealed from and the basis of the appeal. The
appealing party shall file contemporaneously with the statement of appeal a brief setting
forth the party's arguments that the magistrate judge's order is clearly erroneous or contrary
to law. The filing of a statement of appeal does not automatically stay the magistrate judge's
order pending appeal. See NECrimR 57.2(d).

       DATED January 11, 2006.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
